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                             United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:07cr77
                                                  §            (Judge Schell)
 PAULA ELAINE SMITH (1)                           §

                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, and having received Defendant’s waiver of right to object and

 waiver of right to be present and speak at sentencing, this Court is of the opinion that the findings

 and conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions

 of the Court. It is therefore,

         ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

         ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

         ORDERED that Defendant is sentenced to a term of imprisonment of six (6) months

 followed by a term of supervised release of twenty-four (24) months. The Court recommends that

 Defendant be housed in the Bureau of Prisons, Bryan Unit. It is further

         ORDERED that within 72 hours of release from the custody of the Bureau of Prisons, the

 defendant shall report in person to the probation office in the district to which the defendant is

 released. It is further
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        ORDERED that while on supervised release, the defendant shall not commit another federal,

 state, or local crime, and shall comply with the standard conditions that have been adopted by the

 Court, and shall comply with the following additional conditions:

        The defendant shall provide the probation officer with access to any requested financial
        information for purposes of monitoring employment.

        The defendant shall pay any financial penalty that is imposed by this judgment, and that remains
        unpaid at the commencement of the term of supervised release.

        The defendant shall not possess a firearm, ammunition, destructive device, or any other
        dangerous weapon.

        The defendant shall not incur new credit charges or open additional lines of credit without
        the approval of the probation officer unless payment of any financial obligation ordered by
        the Court has been paid in full.

        The defendant shall not participate in any form of gambling unless payment of any financial
        obligation ordered by the Court has been paid in full.

        The defendant shall be required to submit to a drug test within 15 days of release on
        supervised release, and at least two periodic drug tests thereafter, as directed by the probation
        officer.

        The defendant shall participate in a program of testing and treatment for drug abuse, under
        the guidance and direction of the U.S. Probation Office, until such time as the defendant is
        released from the program by the probation officer.

        Under the guidance and direction of the U.S. Probation Office, the defendant shall participate
        in a program of psychiatric and mental health services and shall comply with any medication
        requirements as prescribed by the treatment provider.

        It is further ordered that the defendant is to pay restitution totaling $4,967.55 to the victim listed
        in the "Victim Impact" section of the Presentence Report. The Court orders the restitution
        payments to begin immediately. Any amount that remains unpaid when the defendant's
        supervision commences is to be paid on a monthly basis at a rate of at least 10% of the
        defendant's gross income, to be changed during supervision, if needed, based on the defendant's
        changed circumstances, pursuant to 18 U.S.C. § 3664(k). Additionally, at least 50% of receipts
        received from gifts, tax returns, inheritances, bonuses, lawsuit awards, and any other receipt of
        money (to include, but not limited to, gambling proceeds, lottery winnings, and found money)
        must be paid toward the unpaid restitution balance within 15 days of receipt. Restitution is
        payable by cashier's check or money order made out to the United States District Court and

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       forwarded to the Fine and Restitution Section, U.S. Courts, P.O. Box 570, Tyler, Texas 75710.
       Interest is waived.


           .   SIGNED this the 17th day of February, 2011.




                                                         _______________________________
                                                         RICHARD A. SCHELL
                                                         UNITED STATES DISTRICT JUDGE




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